Case 2:03-cV-02844-.]P|\/|-de Document 21 Filed 07/25/05 Page 1 of 2 Page|D 39

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SH:EBA HARPER,
Plaintiff,
No. 03-2844 Ml/v

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PCA SECURITY,

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Defendant.

 

ORDER FOLLOWING SCHEDULING/STATUS CONFERENCE

 

The court held a scheduling/status conference in this case on
Thursday, July 21, 2005. Plaintiff and former Defendant Bobby
Hobson appeared pro se. At the conference the parties discussed all
issues in the case, including jurisdiction. Pursuant to the
discussion during the conference, the Court hereby sets a status
conference for Tuesdav, September 6. 2005, at 8:45 a.m. to discuss
whether the Court has jurisdiction to hear this case. The parties
are directed to submit any additional documents bearing on the issue
of jurisdiction.1

So ORDERED this é§g day of July, 2005.

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JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

 

' This may include, for instance, documents from the State of
Tennessee indicating the corporate status of PCA Security and the
number of people PCA Security employed during the relevant time
period as well as documents from the City of Memphis Board of
Education concerning any representations made by PCA as to the
number of people it employed during the relevant time period.

Th|s document entered on the docket grith cgmp|ience

w|th Fiu\e 58 and/or 79(a) FRCP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:03-CV-02844 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Sheba Harper
3063 Audrey Cove
Memphis7 TN 38127

Honorable Jon McCalla
US DISTRICT COURT

